    Case 5:02-cr-30020-SGW                Document 1188 Filed 10/18/11                   Page 1 of 1          Pageid#:
                                                     2043
                                                                                                   RKSOFF!GE U.S.DIST.X ZRT
AO247(06/09)OrderRegardingMotionforSentenceReductionPursuantto18U.S.
                                                                   C.j3582(c)(2)               X                        K: VA
                                                                                                                  FlL
                               U NITED STATES D ISTRICT C OURT                                            02T 12 2211
                                                           forthe                                      JULIA C                ,CLERK
                                              W estern DistrictofVirginia                            BK      ()          ()    K

                  United StatesofAmerica                      )
                             v.                               )
                     HarveyLee Davis                          ) CaseNo:5:02cr30020-5
                                                              ) USM No;07655-007
DateofPreviousJudgment:            04/07/2008                 )
(UseDateoflmstAmendedludgmentfApplicable)                     ) Defendant'sAtt
                                                                             orney
                  OrderRegardingM otionforSentenceReduction Pursuantto 18U.S.C.j3582(c)(2)
        Uponmotionof17
                     --1thedefendantU1theDirectoroftheBureauofPrisonsI----Ithecourtunder18U.S.C.
j3582(c)(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been lowered and made retroactiveby theUnited StatesSentencing Comm ission pursuantto 28 U.S.C.
#994(u),andhavingconsideredsuchmotion,andtakingintoaccountthesentencing factorssetforthin 18U.S.C.j
3553(a),totheextentthatthey areapplicable,
IT IS ORDERED thatthemotion is:
        R DENIED. NZ GRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedin
                         theIastjudgmentissue+ of 168                          monthsisreduced to 140*                             .
1. COURT DETERM INATIO N OF GUIDELINE RANGE (Priortozln.pDepartures)
PreviousOffense Level:   31                AmendedOffenseLevel:                                     29
CriminalHistoryCategory: V                 CriminalHistory Category:                                V
PreviousGuidelineRange: 168 to 210 months  AmendedGuideline Range:                                  140       to 175 months
II. SENTENCE RELATW E TO AM ENDED GUIDELINE RANGE
I-
 Z-IThereducedsentenceiswithintheamendedguidelinerange.
(----IThepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofadeparture orRule 35 reduction,and thereduced sentence iscomparably lessthan the
   amended guideline range.
F-IOther(explai
              n):



111.ADDITIONAL COM M ENTS
    *Defendant'sterm ofim prisonm entis reduced to 140 m onths,butnotIessthan tim e served.




Exceptasprovidedabove,al1provisionsofthejudgmentdated 04/07/2008 shallrem '                          ffect.
IT IS SO O RD ER ED .

OrderD ate:             10/18/2011
                                                                      w.  er
                                                                      . ,,,            udge'ssignature

Effective Date:         11/01/2011                                    Sam uelG.W ilson,United States DistrictJudge
                  (Lfd#krenth-om orderdate)                                         Printed nam eand title
